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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

JAQUON A. HARRISON,

       Plaintiff,

v.                                                          Case No: 5:18-cv-95-Oc-30PRL

CITY OF OCALA, FLORIDA and CHRIS
SCAGLIONE,

       Defendants.


                           SUMMARY JUDGMENT ORDER

       Jaquon Harrison, then 16 years old, was approached by Ocala Police Department

Officer Chris Scaglione while walking to the store with a friend just after 3 a.m. Harrison

recorded part of the encounter on his cellphone, but officers attempted to take his cellphone

after detaining him to question him about a recent, nearby burglary. When he refused to

turn over his cellphone and identify himself, Scaglione arrested Harrison for resisting.

While arresting Harrison, Scaglione used a “knee spike” distraction technique after

Harrison inadvertently wrapped Scaglione’s fingers in the links of the handcuffs. Harrison

is suing the City of Ocala and Scaglione for false arrest, excessive force, violation of

Harrison’s First Amendment rights, and Florida tort claims for false arrest and battery.

       Scaglione now moves for summary judgment arguing he is entitled to qualified

immunity for his actions, which would also insulate the City from liability. Harrison argues

that Scaglione lacked reasonable suspicion to stop him in the first place, that the force used

by Scaglione was disproportional to the force needed, and that Scaglione’s actions were
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retaliatory. The Court concludes that Scaglione is entitled to qualified immunity on all

claims, and he and the City are entitled to judgment.

                                         FACTS

       The material facts are not in dispute as they were recorded by Scaglione’s body cam,

a second officer’s body cam, and, partly, by Harrison’s cellphone. (Doc. 20, Exs. C, D, and

E). The Court will briefly summarize those facts below after explaining what led to the

encounter between Scaglione and Harrison.

       On Saturday, August 6, 2016, at approximately 2:20 a.m., a homeowner called the

Ocala Police Department (“OPD”) to report a vehicle burglary. The homeowner said three

black male juveniles had broken into his vehicle parked in his driveway.

        Scaglione, although not assigned to investigate the burglary, was asked to sit on

the perimeter about a mile from the house. Officers did not witness anyone in the area and

K9 units had no success in tracking down the burglars, so officers suspected that the

burglary suspects were hiding in a nearby house. After a while, OPD broke the perimeter,

meaning the officers left their positions and resumed their normal tasks.

       When Scaglione left his position, he went to get coffee from a convenience store a

few blocks away. Upon leaving the store at around 3:15 a.m., Scaglione saw Harrison—a

black male juvenile—and his friend, Hayden Hendrix—a white male juvenile—walking

toward the store from the direction in which the burglary occurred.

       Scaglione thought it was suspicious that Harrison—who matched the rough

description of the burglary suspects—appeared on the streets shortly after OPD broke

perimeter. This was coupled with the facts that (1) Harrison and Hendrix, both juveniles,


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were walking to the store after 3 a.m.; and (2) no one else was seen outside by officers

since the burglary. The fact that Harrison and Hendrix were walking outside after 3 a.m.

aroused suspicion not only because of the recent burglary, but also because the City has a

mandatory midnight curfew for persons under age 16.1

       Scaglione then approached Harrison to question him, at which point the rest of the

encounter was video recorded. Scaglione asked Harrison from where he was coming, to

provide identification, and his age. As evidenced by the recordings, Hendrix immediately

began interfering with Scaglione’s questioning of Harrison. Scaglione and other OPD

officers separated Harrison and Hendrix, but neither would answer the officers’ questions.

Instead, both refused to tell the officers their names, provide contact information for their

parents, or provide an address of where they had been.

       But Harrison did tell Scaglione he was 16 and had come from Hendrix’s house in

the neighborhood, pointing back at the direction in which the burglary had occurred. He

told Scaglione that he and Hendrix were going to the store, and he denied having anything

to do with the burglary.

       Because Harrison would not provide identification and based on the other facts

discussed above, Scaglione told Harrison he was taking him into custody. Scaglione then

ordered Harrison to give him his cellphone, which until this point Harrison had been


1
  The curfew—§ 42-15, City Code of Ordinances—codifies §§ 877.20–877.24, Florida Statutes.
Section 877.22(1)(b), Florida Statutes, states: “A minor may not be or remain in a public place or
establishment between the hours of 12:01 a.m. and 6:00 a.m. on Saturdays, Sundays, and legal
holidays.” The statute then requires law enforcement to transport the minor to a police station or
other appropriate facility to attempt to contact the minor’s parent. § 877.22(4), Fla. Stat. For
purposes of the statute, minors are defined as persons under the age of 16. § 877.21(3), Fla. Stat.



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holding with both hands at chest height with its back facing the officers. Scaglione testified

at his deposition that he took the phone away from Harrison because he thought Harrison

could use it as a weapon or contact accomplices to ambush the officers had he been

involved in the burglary. Harrison never told the officers he was recording the encounter

on his cellphone, and there was no other indication—such as the cellphone’s flash being

illuminated—to put Scaglione on notice that the phone was recording.

       Harrison refused to give him the cell phone, and Scaglione attempted to take it away.

After struggling to take the phone from Harrison, Scaglione told Harrison he was placing

him under arrest for resisting.

       Scaglione began handcuffing Harrison behind his back, and another officer

attempted to take Harrison’s phone. Harrison resisted the officer trying to take his phone,

and inadvertently wrapped the handcuff chain around Scaglione’s fingers. Scaglione, who

said it felt like his fingers were breaking, performed a “knee spike” distraction technique

on Harrison’s outer right thigh. This caused Harrison to fall to the ground, and he cried out

in pain. Scaglione freed his fingers from the handcuff chain, and then is seen walking away

and shaking his hand in pain.

       Harrison was then helped off the ground by another officer and stood unassisted

near Scaglione’s police cruiser. Harrison was not crying or showing any indication he was

in pain. Scaglione then put Harrison in the back of the police cruiser.

       During this encounter, which had lasted approximately 6 minutes, Scaglione and

other officers radioed at least twice to ask for verification of the burglary suspects’

description to confirm that Harrison fit the description. OPD officers then brought the


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homeowner to where Scaglione was located to see if Harrison was one of the burglary

suspects, and Harrison stood from the cruiser unassisted and without any apparent pain.2

                         SUMMARY JUDGMENT STANDARD

       Motions for summary judgment should be granted only when “the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits,

if any show there is no genuine issue as to any material fact and that the moving party is

entitled to judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)

(internal quotation marks omitted); Fed. R. Civ. P. 56(c). The existence of some factual

disputes between the litigants will not defeat an otherwise properly supported summary

judgment motion; “the requirement is that there be no genuine issue of material fact.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The substantive law applicable

to the claimed causes of action will identify which facts are material. Id. Throughout this

analysis, the court must examine the evidence in the light most favorable to the nonmovant

and draw all justifiable inferences in its favor. Id. at 255.

       Once a party properly makes a summary judgment motion by demonstrating the

absence of a genuine issue of material fact, whether or not accompanied by affidavits, the

nonmoving party must go beyond the pleadings through the use of affidavits, depositions,

answers to interrogatories and admissions on file, and designate specific facts showing that




2
  Although not relevant for the purposes of the motion, the homeowner indicated at the scene that
Harrison was one of the burglary suspects, but later said he did not believe Harrison was one of
the suspects. Harrison was never arrested in connection with the burglary.



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there is a genuine issue for trial. Celotex, 477 U.S. at 324. The evidence must be

significantly probative to support the claims. Anderson, 477 U.S. at 248–49.

       This Court may not decide a genuine factual dispute at the summary judgment stage.

Fernandez v. Bankers Nat’l Life Ins. Co., 906 F.2d 559, 564 (11th Cir. 1990). “[I]f factual

issues are present, the Court must deny the motion and proceed to trial.” Warrior

Tombigbee Transp. Co. v. M/V Nan Fung, 695 F.2d 1294, 1296 (11th Cir. 1983). A dispute

about a material fact is genuine and summary judgment is inappropriate if the evidence is

such that a reasonable jury could return a verdict for the nonmoving party. Anderson, 477

U.S. at 248; Hoffman v. Allied Corp., 912 F.2d 1379, 1383 (11th Cir.1990). However, there

must exist a conflict in substantial evidence to pose a jury question. Verbraeken v.

Westinghouse Elec. Corp., 881 F.2d 1041, 1045 (11th Cir. 1989).

                                       DISCUSSION

       Scaglione argues he is entitled to qualified immunity for his actions. Qualified

immunity protects government officials engaged in discretionary functions unless they

violate “clearly established federal statutory or constitutional rights of which a reasonable

person would have known.” Keating v. City of Miami, 598 F.3d 753, 762 (11th Cir. 2010)

(quotation marks and brackets omitted). Qualified immunity shields from liability “all but

the plainly incompetent or one who is knowingly violating the federal law.” Lee v. Ferraro,

284 F.3d 1188, 1194 (11th Cir. 2002). At the summary judgment stage, courts view the

facts from the plaintiff's perspective because the determinative issue is “not which facts the

parties might be able to prove, but, rather, whether or not certain given facts” demonstrate




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a violation of clearly established law. Santana v. Miami-Dade Cty., No. 15-14338, 2017

WL 2191468, at *4 (11th Cir. May 17, 2017).

       “To receive qualified immunity, ‘the public official must first prove that he was

acting within the scope of his discretionary authority when the allegedly wrongful acts

occurred.’ ” Kingsland v. City of Miami, 382 F.3d 1220, 1232 (11th Cir. 2004). If a

defendant proves he was acting within the scope of his discretionary authority, “the burden

then shift[s] to the [plaintiff] to show that qualified immunity should not apply because:

(1) the [official] violated a constitutional right, and (2) that right was clearly established at

the time of the incident.” Garczynski v. Bradshaw, 573 F.3d 1158, 1166 (11th Cir. 2009).

       Here, Harrison does not dispute that Scaglione was acting within his discretionary

authority when he stopped Harrison, arrested him, and took his cellphone. So the question

for the Court is whether Harrison demonstrated that Scaglione’s actions violated Harrison’s

constitutional rights that were clearly established on the date of the arrest.3 The Court will

separately address whether Scaglione had qualified immunity for each claim.

A. False Arrest Claims

       Harrison’s false arrest claim is not premised on Scaglione’s lack of probable cause

to arrest him for resisting. Instead, Harrison argues that Scaglione lacked reasonable

suspicion to stop him in the first place. (Doc. 25, pp. 4–9). And, Harrison argues, because


3
  If Scaglione is entitled to qualified immunity, then Harrison’s claims against the City likewise
fail. Case v. Eslinger, 555 F.3d 1317, 1328 (11th Cir. 2009) (“The Supreme Court has explained,
‘[N]either Monell v. New York City Department of Social Services, 436 U.S. 658, 98 S.Ct. 2018,
56 L.Ed.2d 611 (1978), nor any other of our cases authorizes the award of damages against a
municipal corporation based on the actions of one of its officers when in fact ... the officer inflicted
no constitutional harm.’ ”).



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Scaglione did not have reasonable suspicion to stop him, the investigatory stop and

subsequent arrest for resisting were unconstitutional.

       Law enforcement “may, consistent with the Fourth Amendment, conduct a brief,

investigatory stop when the officer has a reasonable, articulable suspicion that criminal

activity is afoot.” Jackson v. Sauls, 206 F.3d 1156, 1165 (11th Cir. 2000) (quoting Illinois

v. Wardlow, 528 U.S. 119 (2000)). “The interest of ‘effective crime prevention and

detection,’ the Court explained, ‘underlies the recognition that a police officer may in

appropriate circumstances and in an appropriate manner approach a person for purposes of

investigating possibly criminal behavior even though there is no probable cause to make

an arrest.’ ” Clark v. City of Atlanta, Ga., 544 F. App'x 848, 853 (11th Cir. 2013) (quoting

Terry v. Ohio, 392 U.S. 1, 30, (1968)).

       Although less stringent than the probable cause standard, reasonable suspicion

“requires at least a minimal level of objective justification for making the stop.” Jackson,

206 F.3d at 1165. Courts consider the totality of the circumstances to determine whether

reasonable suspicion exists. United States v. Lindsey, 482 F.3d 1285, 1290 (11th Cir. 2007).

As such, “ ‘[a] reasonable suspicion of criminal activity may be formed by observing

exclusively legal activity,’ even if such activity is ‘seemingly innocuous to the ordinary

citizen.’” Id. (citing United States v. Gordon, 231 F.3d 750, 754 (11th Cir.2000),

and United States v. Smith, 201 F.3d 1317, 1323 (11th Cir.2000)). “We also recognize that

the police may ‘draw on their own experience and specialized training to make inferences

from and deductions about the cumulative information available to them that might well

elude an untrained person.’” Id. at 1290–91.


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       “Whether an officer has reasonable suspicion is an objective question viewed from

the standpoint of a reasonable officer at the scene”; the question “is not whether a specific

arresting officer … actually and subjectively had the pertinent reasonable suspicion, but

whether, given the circumstances, reasonable suspicion objectively existed.” Hicks v.

Moore, 422 F.3d 1246, 1252 (11th Cir. 2005). “A suspect’s conduct might be ambiguous

and susceptible of an innocent explanation, but an officer equipped with articulable

suspicion is entitled to resolve that ambiguity in favor of an investigatory stop.” United

States v. Graham, 496 Fed. Appx. 961, 962 (11th Cir. 2012).

       “When an officer asserts qualified immunity, the issue is not whether reasonable

suspicion existed in fact, but whether the officer had ‘arguable’ reasonable suspicion to

support an investigatory stop.” Jackson, 206 F.3d at 1166. So an officer is entitled to

qualified immunity related to an investigatory stop if the officer reasonably could have

believed that reasonable suspicion existed. Henning v. Harrel, No. 6:15-CV-1520-ORL-

40KRS, 2017 WL 5197505, at *5 (M.D. Fla. Mar. 1, 2017); see also Clark, 544 Fed. App’x

at 853 (“an officer ‘who reasonably but mistakenly concludes that reasonable suspicion is

present is still entitled to qualified immunity.’”).

       Here, the Court concludes that Scaglione had at least arguable reasonable suspicion

to detain Harrison for an investigatory stop based on the totality of the circumstances.4



4
  The parties do not argue at which point the investigatory stop began. An individual is seized
when an officer “by means of physical force or show of authority, has in some way restrained the
liberty of a citizen.” Jackson, 206 F.3d at 1166 (quoting Terry, 392 U.S. at 16). Here, the Court
concludes the investigatory stop began when Scaglione separated Harrison and Hendrix, indicating
that the two were not free to continue on their way.



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 This conclusion is based on these facts: (1) Harrison matched the rough description of the

 burglary suspects given to Scaglione; (2) Harrison and Hendrix were the only people

 outside in the area of the burglary, and appeared only after the OPD officers broke

 perimeter; (3) Harrison and Hendrix were walking outside at 3 a.m. from the direction in

 which the burglary had occurred; (4) Harrison and Hendrix refused to identify themselves

 to officers or provide the address from where they had come; and (5) Harrison, a juvenile,

 was in a public area after curfew and would not provide Scaglione with his name or his

 mother’s contact information. 5 Based on these facts, Scaglione could have reasonably

 believed that reasonable suspicion existed to detain Harrison regarding the reported

 burglary or for violating the City’s curfew.

        In reaching this conclusion, the Court notes there is no indication that Harrison

 actually did anything illegal prior to the investigatory stop. Harrison, being 16, was not

 subject to the City’s curfew and could be in a public place at 3 a.m. And he was under no

 obligation to tell Scaglione or the officers his identity or from where he had just come. But

 just because those actions were not unlawful does not mean that they could not form the

 basis of Scaglione’s arguable reasonable suspicion. Lindsey, 482 F.3d at 1290; Graham,

 496 Fed. Appx. at 962.




 5
   Unlike the numerous cases on which Harrison relies, this is not a case in which Scaglione’s sole
 basis for performing the stop was because Harrison matched the rough description of the burglary
 suspects. The Court agrees that fact alone would be insufficient to justify Harrison’s detention.
 But the totality of the circumstances—which includes the fact that Harrison matched the rough
 description of the burglary suspects—gave Scaglione arguable probable cause to detain Harrison.



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        Although not argued by Harrison in response to the summary judgment motion, the

 Court also concludes that Scaglione had arguable probable cause to arrest Harrison for

 resisting after Harrison was detained. See Davis v. Williams, 451 F.3d 759, 762–63 (11th

 Cir. 2006) (“In the context of a claim for false arrest, an officer is entitled to qualified

 immunity where that officer had ‘arguable probable cause’” to effectuate the arrest.);

 and Williams v. Sirmons, 307 Fed. App'x 354, 358 (11th Cir. 2009) (“Arguable probable

 cause exists where an objectively reasonable officer in the same circumstances and

 possessing the same knowledge as the officers effectuating the arrest could have believed

 that probable cause existed.”). During the investigatory stop, Scaglione asked Harrison to

 identify himself and turn over his cellphone. Harrison refused Scaglione’s lawful

 commands (the Court will address why ordering Harrison to turn over the cellphone was

 lawful in § C, infra), which provided arguable probable cause to arrest him for resisting.

 B. Excessive Force and Battery Claims

        Harrison alleges that Scaglione used excessive force when he used the “knee spike”

 distraction technique on Harrison after Harrison was in handcuffs. Excessive force claims

 under the Fourth Amendment are subject to the “objective reasonableness” standard.

 Crenshaw v. Lister, 556 F.3d 1283, 1290 (11th Cir. 2009). Under this standard, court

 consider whether an officer’s conduct was reasonable under the unique facts confronting

 the officer from the viewpoint of a reasonable officer, as opposed to with the “20/20 vision

 of hindsight.” Id. This Court is also mindful that “the right to make an arrest or

 investigatory stop necessarily carries with it the right to use some degree of physical

 coercion or threat thereof to effect it.” Graham v. Connor, 490 U.S. 386, 396 (1989).


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        In considering whether an officer’s conduct was objectively reasonable, courts

 consider these factors: “(1) the severity of the crime; (2) whether the individual ‘poses an

 immediate threat to the safety of the officers or others’; (3) whether the individual actively

 resists or tries to evade arrest by flight; (4) the need for force to be applied; (5) the amount

 of force applied in light of the nature of the need; (6) the severity of the injury; and (7)

 whether officers applied force ‘in good faith or [rather did so] maliciously and

 sadistically.’” Jones v. Fransen, 857 F.3d 843, 853 (11th Cir. 2017). Ultimately, force is

 excessive when the amount and degree surpass what is “necessary in the situation at hand.”

 Lee v. Ferraro, 284 F.3d 1188, 1197 (11th Cir. 2002).

        Considering the above factors, the Court concludes the force used by Scaglione was

 not excessive. Of the seven factors, only factors 1 and 3 support Harrison’s excessive force

 claim; the remaining factors support Scaglione’s qualified immunity defense. Although

 inadvertent, Harrison’s act of refusing to let go of his cellphone and resisting the other OPD

 officer’s attempt to remove it from his hands caused the handcuff chain to wrap around

 Scaglione’s fingers, causing him intense pain. Scaglione, who could not pull his fingers

 free from the handcuff chain, used a single knee spike to Harrison’s outer thigh. After the

 knee spike, Scaglione removed his fingers from the handcuff chain, and then he walked

 away—ending the use of force when it was no longer necessary. Harrison initially cried

 out in pain from the knee spike, but he did not appear to be in physical pain throughout the

 rest of the recorded encounter. And Harrison provided no evidence showing that he has

 any permanent injury, or that he required treatment because of the knee spike. There is also

 no evidence that Scaglione’s knee spike was malicious or sadistic. Because the factors


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 indicate that Scaglione used the least amount of force necessary to prevent further injury

 to himself, the Court concludes that he is entitled to qualified immunity on Harrison’s

 excessive force and battery claims.

 C. First Amendment Claim

        Harrison argues that Scaglione retaliated against him for exercising his First

 Amendment rights—video recording the encounter with OPD officers—by taking his

 cellphone and arresting him. “To state a claim for retaliation under the First Amendment,

 a plaintiff must demonstrate that (1) he engaged in protected speech; (2) the defendant's

 conduct adversely affected the protected speech; and (3) a causal connection exists between

 the speech and the defendant's retaliatory actions.” Bailey v. Wheeler, 843 F.3d 473, 480

 (11th Cir. 2016). A defendant’s action adversely affects speech if the “allegedly retaliatory

 conduct would likely deter a person of ordinary firmness from the exercise of First

 Amendment rights.” Bennett v. Hendrix, 423 F.3d 1247, 1254 (11th Cir. 2005). For a causal

 connection to exist, “a plaintiff must show that the decision-makers were aware of the

 protected conduct, and that the protected activity and the adverse actions were not wholly

 unrelated.” Thampi v. Manatee Cty. Bd. of Comm'rs, 384 Fed. App'x 983, 990 (11th Cir.

 2010) (quoting Shannon v. BellSouth Telecomm., Inc., 292 F.3d 712, 716 (11th Cir. 2002));

 see also Sampson v. City of Miami Gardens, No. 13-24312-CIV, 2015 WL 11202372, at

 *26 (S.D. Fla. May 27, 2015) (“To establish a causal connection, a plaintiff must

 demonstrate his or her protected speech was a motivating factor behind the alleged

 retaliatory conduct.”).




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        Here, the Court concludes Harrison failed to establish a causal connection.

 Scaglione testified at his deposition that he took the cellphone from Harrison because he

 had detained him and believed the cellphone could be used as a weapon or to coordinate

 an ambush. Scaglione also testified, and the video recording reflects, that he did not arrest

 Harrison until Harrison resisted by refusing to turn over the cellphone. No facts indicate

 that Scaglione’s actions were at all motivated by Harrison’s exercise of his First

 Amendment rights. In fact, there are no facts demonstrating that Scaglione even knew

 Harrison was exercising his rights by recording the encounter on his cellphone, which alone

 entitles Scaglione to judgment on this claim. So the Court concludes Scaglione is entitled

 to judgment on Harrison’s First Amendment retaliation claim because Harrison did not

 demonstrate that Scaglione violated his First Amendment rights.6

                                         CONCLUSION

        Scaglione and the City are entitled to judgment against Harrison. Although Harrison

 initially committed no illegal acts, his presence in the area of the recent burglary after 3

 a.m., his matching the rough description of the burglary suspects, and his refusal to identify

 himself or tell OPD officers from where he was coming gave Scaglione arguable

 reasonable suspicion to detain him. Then Harrison’s continued refusal to cooperate and

 turn over his cellphone after Scaglione’s lawful demand provided arguable probable cause


 6
   The Court also notes its finding of arguable probable cause on Harrison’s false arrest claim also
 requires that the Court conclude Scaglione is entitled to qualified immunity on Harrison’s First
 Amendment retaliation claim. Redd v. City of Enter., 140 F.3d 1378, 1383 (11th Cir. 1998)
 (“Because we hold that the officers had arguable probable cause to arrest Anderson for disorderly
 conduct, we must hold that the officers are also entitled to qualified immunity from the
 plaintiffs' First Amendment claims.”).



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 to arrest him. And because there is no evidence that Scaglione was aware Harrison was

 recording the encounter, Scaglione cannot be held liable for violating Harrison’s First

 Amendment rights.



       Accordingly, it is ORDERED AND ADJUDGED that:

       1.     Defendants City of Ocala and Chris Scaglione's Motion for Summary

              Judgment (Doc. 23) is GRANTED.

       2.     The Clerk is directed to enter final judgment in favor of Defendants City of

              Ocala and Chris Scaglione, and against Plaintiff Jaquon A. Harrison.

       DONE and ORDERED in Tampa, Florida, this 21st day of May, 2019.




 Copies furnished to:
 Counsel/Parties of Record




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